    Case: 1:17-cv-01640 Document #: 77 Filed: 12/06/17 Page 1 of 2 PageID #:1674



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BILL A. BUSBICE, JR., an individual;
OLLAWOOD PRODUCTIONS, LLC, a
limited liability company; and ECIBSUB,
LLC, a limited liability company,

                    Plaintiffs,

           v.                                           Case No. 1:17-cv-1640

ADRIAN VUCKOVICH, an individual;                        Honorable Andrea R. Wood
COLLINS, BARGIONE & VUCKOVICH, a
partnership; and DOES 1 – 50, inclusive,

                    Defendants.

                                    NOTICE OF MOTION

           PLEASE TAKE NOTICE that on December 14, 2017 at 9:00 a.m. or as soon thereafter

as counsel may be heard, Troutman Sanders LLP will appear on behalf of Plaintiffs Bill A.

Busbice, Jr., Ollawood Productions, LLC, and Ecibub, LLC before the Honorable Andrea R.

Wood in the United States District Court of the Northern District of Illinois, Eastern Division

and then and there present its Agreed Motion to Extend Case Deadlines.




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    Case: 1:17-cv-01640 Document #: 77 Filed: 12/06/17 Page 2 of 2 PageID #:1675



Dated: December 6, 2017               Respectfully submitted,


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